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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AM ERICA,

Plaintiff,

vs.

TRAVIS NORMAN,

Defendant.                                            No. 05-CR-30015-DRH-4

                           MEMO RANDUM AND ORDER

HERNDO N, District Judge:

                                   I. Introduction

             Before the Court are several motions submitted by Defendant Travis

Norman. (Docs. 83, 84, 85, 88, 89, 90 and 92.) Defendant moves (a) to suppress

the contents of governmen t electronic surveillance (Doc. 83); (b) for “government

agents to retain rough notes” (Doc. 84); (c) to compel a response to previously filed

motions, or, in the alternative, to “prohibit the government from using any evidence

at trial which might have been disclosed” (Doc. 85); (d) for a bill of particulars (Doc.

88); (e) for discovery pursuant to Federal Rule of Criminal Procedure 12(b)(4)(B)

(Doc. 89); (f) to exclude evidence “not provided by [the] government,” or, in the

alternative, “for the government to affirmatively state that it has followed the

precepts of Brady v. Maryland, Strickler v. Greene and Kyles v. Whitley” (Doc.

90); and (g) “to compel the government to follow the law regarding production of

wiretap information” (Doc. 92). The government responds in opposition to Motions

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(b),(d), (e),(f), and (g), above. (D oc. 93.)

                                        II. Analysis

              A.      Suppression (Doc. 83)

              Defendant filed his Motion to Suppress on March 29, 2005, less than

three weeks prior to the date on which trial was originally scheduled, before it was

continued twice. (Doc. 83.) At the time Defendant filed his Motion, he did not

possess any of the alleged unlawfully obtained documents; indeed, as he notes, his

Motion was filed out of “an abundance of caution.” (Doc. 83, p. 1.) As a result,

Defendant provides no case-specific reason why the Court should suppress “any and

all electronic surveillance.” (Doc. 83.) Before a hearing on a motion to suppress is

warranted, a defendant must present “definite, specific, detailed and nonconjectural”

facts supporting his motion to suppress. United States v. Hamm, 786 F.2d 804,

807 (7th Cir. 1986).        Defendant has presented no such facts.     Accordingly, a

hearing on Defendant’s motion is unnecessary.          The Court DENIES Defendant’s

Motion to Suppress Electronic Surveillance. (Doc. 83.)

              B.      Preservation of Rough Notes (Doc. 84)

              Defe ndant asks the Court to require the government to instruct its

agents to preserve all rough notes related to this case. (Doc. 84.) Defendant bases

this request on both the Jencks Act, 18 U.S.C. § 3500 (the “Act”), and Brady v.

Maryland , 373 U.S. 83 (1963).             The Jencks Act compels the government's

production of statements that a government witness has signed or otherwise


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adopted or approved, and which relate to the subject matter of the witness’s

testimony. 18 U.S.C. § 3500(a)-(b). The Act defines a statement as "(1) a written

statement made by said witness and signed or otherwise adopted by him; (2) a . . .

substantially verbatim recital of an oral statement made by said witness and

recorded contemporaneously with the making of such oral statement; or (3) a

statement, however taken or recorded, or a trans crip tion thereof, if any, made by

said witness to a grand jury." 18 U.S.C. § 3500(e). Brad y requires a prosecutor

to disclose materials to the Defendant that will aid her. Brady, 373 U.S. at 87.

             The Court finds Defendant’s request overbroad. The Jencks Act only

requires disclosure, after a witness testifies, of statements sign ed , adopted, or

approved by the witness relating to the subject matter of the witness’s testimony.

See 18 U.S.C . § 3500(a)-(b). Notes later incorporated into a report need not be

preserved after they have served their purpose in the preparation of interview

reports.   United States v. Harris, 542 F.2d 1283, 1293 (7th Cir. 1976).

Moreover, “notes and summaries of witness statements that are neither adopted by

the witness nor substantial verbatim recitals of what the witness said are deemed

un reliable under the [Jencks Act] and need not be produced.” United States v.

Morrison, 946 F.2d 484, 494-95 (7th Cir. 1991). Defendant asks the Court to

order the government to retain both types of notes. The Court dec line s.    While

government agents may not, in bad faith, destroy documents that later must be

disclosed pursuant to the Jenks Act, Defendant’s request is simply too broad.


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Defendant’s Motion for G overnment Agents to Retain Rough Notes is th erefo re

DENIED. (Doc. 84.)

             C.     Compel a Response (Doc. 85)

             Because the Court has already ruled on the motions to which Defendant

seeks a response, the Court DENIES Defendant’s Motion to Compel a Response, as

moot. (Doc. 85.)

             D.     Bill of Particulars (Doc. 88)

             The Court finds Defendant’s Motion for a Bill of Particulars (Doc. 88)

inappropriate. A bill of particulars is necessary when the charges in an indictment

are so general that they fail to apprise the defendant of the specific act of which he

is accused. United States v. Andrus, 775 F.2d 825, 843 (7th Cir. 1985). Here,

the indictment contains a clear and unambiguous description of the charges. (Doc.

12.)   The indictment further indicates the time frame in wh ich the conspiracy

allegedly operated and the names of the individuals with whom Defendant allegedly

conspired. The Court, therefore, DENIES Defendant’s Motion for Bill of Particulars.

(Doc. 88.)

             E.     Discovery (Doc. 89)

             Defendant moves this Court to “require that pursuant to Federal Rule

of Criminal Procedure 12(b)(4)(B) the government give notice of its intent to use [in]

its case in chief any evidence that Defendant may be entitled to discover under Rule

16.”   (Doc. 89, p. 2.)   Defendant further states that “[t]he Government should



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affirmatively be required under Federal Rule of Criminal Procedure 12(b)(4)(B) to

state those portions of wiretaps, including but not limited to the affidavits,

applications, 10 day reports or suppressed line reports that might be suppressible.”

(Doc. 89, ¶ 6.)

             Federal Rule of Criminal Procedure 12(b)(4)(B) provides that “[a]t the

arraignment or as soon as practicable, the defendant may, in order to have an

opportunity to move to suppress evidence under Rule 12(b)(3)(c), request notice of

the government’s intent to use (in its evidence-in-chief at trial) any evidence that the

defendant may be entitled to discover under Rule 16.”           This Rule permits a

defendant to request notice of evidence that the government intends to use. It does

not provide a basis for Defendant to request that the government identify evidence

that “mig ht be suppressible.”      For this reason, the Court declines to grant

Defendant’s request to identify potentially suppressible evidence in paragraph six of

his Motion. (Doc. 89.) The Court, however, affirms that the government is obligated

to comply with both Rule 16 and Rule 12(b)(4(B). Therefore, the Court GRANTS in

part and DENIES in part Defendant’s Motion. (D oc. 89.) D efe ndant’s Motion is

GRANTED only to the extent Defendant seeks government compliance with Federal

Rules of Criminal Procedure 16 and 12(b)(4)(B); the Court ORDERS the

government to comply with these Rules. The remainder of Defendant’s Motion is

DENIED. (Doc. 89.)

             F.     Exclude Evidence (Doc. 90)



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             In its “Motion to Exclude Evidence not Provided by G overnment or in

the Alternative for the Government to Affirmatively State that it has Followed the

Precepts of Brady v. Maryland [373 U.S. 83 (1963)], Strickler v. Greene [527

U.S. 263 (199 9)] and Kyles v. Whitely [514 U.S. 419 (1995)],” Defendant asks

the Court to exclude all evidence “in existence and in possession of the Government

or its agents prior to the date this Motion is filed . . . if this Honorable Court

determines at a later date that this evidence should have been disclosed under

Brady, Kyles, or Strickler,” or, in the alternative, for a statement from the

government that it has complied with the law set forth in these cases.       (Doc. 90.)

As an initial matter, the Court declines to issue an Order premised entirely upon a

hypothetical finding. If the Court later determines that the government violated its

duties under the above cases, the Court will then entertain a motion by Defendant.

Further, while the Court agrees that the government must abide by the law set forth

in those cases, Defendant presents no evidence here to suggest that the government

has failed to do so. Therefore, the Court DEN IES Defendant’s Motion. (Doc. 90.)

             G.    Compel Compliance with 18 U.S.C. § 2518(9) (Doc. 92)

             As Defendant notes, 18 U.S.C. § 2518(9) states as follows:

          The contents of any wire, oral, or electronic communication
       intercepted pursuant to this chapter or evidence derived therefrom
       shall not be received in evidence or otherwise disclosed in any trial,
       hearing, or proceeding in a Federal or State court unless each party,
       not less than ten days before the trial, hearing, or proceeding, has been
       furnished with a copy of the court order, and accompanying
       application, under which the interception was authorized or approved.
       This ten-day period may be waived by the judge if he finds that it was

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       not possible to furnish the party with the above information ten days
       before the trial, hearing , or proceeding, and that the party will not be
       prejudiced by the delay in receiving such information.

Defendant’s Motion was made less than ten days prior to the date on which trial was

originally scheduled. Trial has since been continued twice, and is currently set for

February 13, 2006, a date many more than ten days away. (Doc. 168.) Accordingly,

the Court DEN IES Defendant’s motion requesting that the government comply with

18 U.S.C. § 2518(9).

                                  III. Conclusion

             For the reasons stated above, the Court DEN IES Defendant’s Motion

to Suppress (Doc. 83); DE NIE S Defendant’s Motion for Government Agents to

Retain Rough Notes (Doc. 84); DEN IES Defendant’s Motion to Compel a Response

(Doc. 85); DEN IES Defendant’s Motion for a Bill of Particulars (D oc. 88); GRANTS

in part and DENIES in part Defendant’s Motion for Discovery (Doc. 89); DENIES

Defendant’s Motion to Exclude Evidence (Doc. 90); and DEN IES Defendant’s Motion

to Compel Compliance with 18 U.S.C. § 2518(9) (Doc. 92).

             IT IS SO ORDERED.

             Signed this 24th day of October, 2005




                                                /s/        David RHerndon
                                              United States District Judge




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